                     Case 1:18-cv-04727-ELR Document 2 Filed 10/12/18 Page 1 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Northern District
                                                 __________ Districtof
                                                                     ofGeorgia
                                                                       __________

   GEORGIA COALITION FOR THE PEOPLES                               )
       AGENDA, INC., as an organization;                           )
      [additional plaintiffs on Attachment "A"]                    )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 1:18-cv-04727-ELR
                                                                   )
BRIAN P. KEMP, in his official capacity as Secretary               )
         of State for the State of Georgia
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Georgia Secretary of State Brian P. Kemp, 214 State Capitol, Atlanta, Ga. 30334




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Bryan L. Sells
                                       The Law Office of Bryan L. Sells LLC
                                       PO Box 5493
                                       Atlanta, Georgia, 31107
                                       [additional attorneys on Attachment "A"]


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
                       Case 1:18-cv-04727-ELR Document 2 Filed 10/12/18 Page 2 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
         Case 1:18-cv-04727-ELR Document 2 Filed 10/12/18 Page 3 of 4



                     ATTACHMENT “A” TO SUMMONS

Additional Plaintiffs (continued from page 1):

ASIAN AMERICANS ADVANCING JUSTICE-ATLANTA, INC., as an
organization; GEORGIA STATE CONFERENCE OF THE NAACP, as an
organization; NEW GEORGIA PROJECT, INC., as an organization; GEORGIA
ASSOCIATION OF LATINO ELECTED OFFICIALS, INC., as an organization;
and PROGEORGIA STATE TABLE, INC., as an organization;

Additional Attorneys for the Plaintiffs (continued from page 1):

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Ezra D. Rosenberg, Esq. (*pro hac vice – to be filed)
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Lawyers’ Committee for Civil Rights Under Law
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         Case 1:18-cv-04727-ELR Document 2 Filed 10/12/18 Page 4 of 4



Danielle Lang, Esq. (*pro hac vice – to be filed)
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